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 9                           UNITED STATES DISTRICT COURT
10                FOR THE CENTRAL DISTRICT OF CALIFORNIA
11   ERNEST DEWAYNE JONES,                                  Case No. CV-09-2158-CJC
12              Petitioner,
                                                            DEATH PENALTY CASE
13           V.
14                                                          SUPPLEMENTAL DECLARATION
                                                            OF MICHAEL LAURENCE IN
15   KEVIN CHAPPELL, Warden of
                                                            SUPPORT OF CLAIM 27
     California State Prison at San
16
     Quentin,
                                                            Date:      July 16, 2014
17                       Respondent.
                                                            Time:      9:00 a.m.
18                                                          Courtroom: 9B
19
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      Supplemental Declaration of Michael Laurence in Support of Claim 27       Case No. CV-09-2158-CJC
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            SUPPLEMENTAL DECLARATION OF MICHAEL
                 LAURENCE IN SUPPORT OF CLAIM 27

     I, Michael Laurence, declare as follows:

            1.   I am an attorney at law admitted to practice by the State of
     California and before this Court. I am the Executive Director of the
     Habeas Corpus Resource Center (HCRC). On April 14, 2009, this Court
     appointed the HCRC to represent Mr. Jones in his federal habeas corpus
     proceedings. I am assigned as lead counsel in these proceedings.

            2.   On June 9, 2014, I executed a declaration that was filed in
     support of Petitioner’s Opening Brief on Claim 27. This supplemental
     declaration is submitted to clarify and correct some of the information
     contained in that declaration.    In addition, the data supporting the
     conclusions made in the June 9, 2014 declaration, as corrected herein, are
     filed contemporaneously with this supplemental declaration.

            3.   In paragraph 7 of the June 9, 2014 declaration, I stated:
     “There currently are 70 condemned prisoners without counsel for the
     automatic appeal in California.” Correction of that statement is necessary
     because of a typographical error in the number of condemned prisoners
     without counsel for their automatic appeal. My declaration should have
     stated: “There currently are 71 condemned prisoners without counsel for
     the automatic appeal in California.”

            4.   In paragraph 8 of the June 9, 2014 declaration, I stated: “On
     average, the 77 inmates whose direct appeals are concluded and who lack
     habeas corpus counsel have waited 15.81 years after their sentencing; 160
     inmates have been without a habeas corpus attorney for more than ten
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     years, and one lacks counsel despite being sentenced in 1992.”
     Correction of that statement is necessary because of errors in the numbers
     of inmates and the time they have waited for counsel. My declaration
     should have stated: “On average, the 76 inmates whose direct appeals are
     concluded and who lack habeas corpus counsel have waited 15.78 years
     after their sentencing; 159 inmates have been without a habeas corpus
     attorney for more than ten years, and one (Morris Solomon, Jr.) lacks
     counsel despite being sentenced in 1992.”

              5.     In paragraph 9 of the June 9, 2014 declaration, I stated:
     “Between January 1, 2009 and December 31, 2013, the state has averaged
     22 death judgments per year, while over the same time period, there has
     been an average of 10 annual appointments to represent death-row
     inmates in their habeas corpus proceedings.”         Clarification of that
     statement is necessary because the appointment data used was organized
     by California’s fiscal year, which runs from July 1 to June 30. My
     declaration should have stated: “Between January 1, 2009, and December
     31, 2013, the state has averaged 22.8 death judgments per year, while
     over the same time period, there has been an average of 9.4 annual
     appointments to represent death-row inmates in their habeas corpus
     proceedings.”

              6.     In paragraph 13 of the June 9, 2014 declaration, I stated:
     “The California Supreme Court currently has 176 pending capital habeas
     cases. Thus number excludes initial petitions that the California Supreme
     Court permits to be filed to toll the federal statute of limitation period
     while the court locates counsel willing to accept an appointment, counsel
     files an amended petition within the court’s timeliness policies, and the
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     court resolves the amended petition in accordance with In re Morgan, 50
     Cal. 4th 932, 237 P.3d 993 (2010). The average pending time of these
     176 cases is 4.07 years. Of the 176 cases, 107 have been fully briefed
     awaiting decision for an average of 4.16 years (or 50 months) since the
     reply to the informal response was filed. Table/Figure 2 attached to this
     Declaration depicts the length of time that the fully briefed case have
     been pending.” Correction of that statement is necessary because of
     typographical and averaging errors. My declaration should have stated:
     “The California Supreme Court currently has 176 pending capital habeas
     cases. This number excludes initial petitions that the California Supreme
     Court permits to be filed to toll the federal statute of limitation period
     while the court locates counsel willing to accept an appointment, counsel
     files an amended petition within the court’s timeliness policies, and the
     court resolves the amended petition in accordance with In re Morgan, 50
     Cal. 4th 932, 237 P.3d 993 (2010). The average pending time of these
     176 cases is 4.07 years. Of the 176 cases, 107 have been fully briefed
     awaiting decision for an average of 3.13 years (or 37.58 months) since
     the reply to the informal response was filed. Table/Figure 2 attached to
     this Declaration depicts the length of time that the fully briefed case have
     been pending.”

              7.     In paragraph 16 of the June 9, 2014 declaration, I stated:
     “Since 1978, condemned inmates have filed 267 exhaustion petitions in
     the California Supreme Court, and the average time that the inmate
     remains in state court following the filing of the exhaustion is 3.19
     years.” Correction of that statement is necessary because of an error in
     the number of exhaustion petitions filed. My declaration should have
     stated: “Since 1978, 268 condemned inmates have filed exhaustion
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     petitions in the California Supreme Court, and the average time that the
     inmate remains in state court following the filing of exhaustion petitions
     is 3.18 years overall.”

              8.     In paragraph 18 of the June 9, 2014 declaration, I stated:
     “Using figures publicly available from the California Department of
     Justice and the California Department of Corrections and Rehabilitation,
     I calculated the average suicide rate on California’s death row between
     1980 and 2010 to be 299.5 per 100,000.” Correction of that statement is
     necessary because of an error citing the source of the data.           My
     declaration should have stated: “Using figures publicly available from the
     California Department of Justice and the Centers for Disease Control and
     Prevention, I calculated the average suicide rate on California’s death row
     between 1980 and 2010 to be 299.5 per 100,000.” A corrected version of
     Table/Figure 3 is attached to this Declaration.

             The foregoing is true and correct and executed under penalty of
     perjury under the laws of the United States and the State of California on
     July 14, 2014.


                                          /s/ Michael Laurence
                                          Michael Laurence
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TABLE/FIGURE 3


                        Average Suicide Rates 1980-2010
                                                (per 100,000)

                 California Death Row Suicide Rate

         California General Population Suicide Rate

   California General Population Male Suicide Rate

     United States General Population Suicide Rate

United States General Population Male Suicide Rate

                                                      0       50     100     150     200     250   300   350
 Source: Centers for Disease Control and Prevention, California Department of Justice, and
 Habeas Corpus Resource Center
